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Daniel R Perlman SBN 236278
1601 Vine Street, Hollywood, CA 90028

310-557-1700
daniel@danielperlmanlaw.com
Attorney for Daniel Stonebarger
UNITED STATES DISTRICT COURT
DISTRICT OF COLORADO
DENVER DIVISION
UNITED STATES OF AMERICA, ) NO.: 1:21-cr-00392-RM
)
Plaintiff, ) STIPULATION AND [PROPOSED] ORDER
) CONTINUING SENTENCING DATE
Vv. )
)
DANIEL STONEBARGER )
)
Defendant. )
)
PROPOSED ORDER
Based upon the representations of counsel and for good cause shown, the Court:
grants the defense request for a continuance over the objection of the Government to allow

defense counsel and the defendant the time necessary to prepare for sentencing, taking into account the
exercise of due diligence. 18 U.S.C. §3161(h)(7)(B)(iv). Therefore, and with the consent of the
defense,

___ grants the defense request to file its sentencing memorandum and related documents
beyond the proscribed time limits until May 19, 2022 taking into account the exercise of due diligence.

18 U.S.C. §3161(h)(7)(B)\(iv). Therefore, and with the consent of the defense and the United States,

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IT IS SO ORDERED.

DATED:

HONORABLE Raymond P. Moore
United States District Judge

